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                                                                          13                            UNITED STATES BANKRUPTCY COURT
                                                         (213) 623-9300




                                                                                                        SOUTHERN DISTRICT OF CALIFORNIA
                                                                          14
                                                                               In re                                          Case No. 22-02384-11
                                                                          15
                                                                               BORREGO COMMUNITY HEALTH                       Chapter 11 Case
                                                                          16 FOUNDATION, a California nonprofit public
                                                                             benefit corporation,
                                                                          17
                                                                                       Debtor and Debtor in Possession.
                                                                          18
                                                                          19 BORREGO COMMUNITY HEALTH                         Adv. Pro. No. 22-90056
                                                                             FOUNDATION, a California nonprofit public
                                                                          20 benefit corporation,                             DECLARATION OF JOSEPH R.
                                                                                                                              LAMAGNA IN SUPPORT OF EX PARTE
                                                                          21                                Plaintiff,        APPLICATION SUPPLEMENTING
                                                                                       v.                                     EMERGENCY MOTION: (I) TO
                                                                          22                                                  ENFORCE THE AUTOMATIC STAY
                                                                               CALIFORNIA DEPARTMENT OF HEALTH                PURSUANT TO 11 U.S.C. § 362; OR,
                                                                          23 CARE SERVICES,                                   ALTERNATIVELY (II) FOR
                                                                                                                              TEMPORARY RESTRAINING ORDER
                                                                          24                                Defendant.
                                                                                                                              Judge: Honorable Laura S. Taylor
                                                                          25                                                  Date: September 30, 2022
                                                                                                                              Time: 11:00 a.m. Pacific
                                                                          26
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                                                                           1                           DECLARATION OF JOSEPH R. LAMAGNA

                                                                           2          I, Joseph R. LaMagna, hereby state and declare as follows:

                                                                           3          1.      I am an attorney licensed to practice law in the State of California, and a partner in

                                                                           4 the law firm of Hooper, Lundy & Bookman. I have been a healthcare attorney since 2006, and I
                                                                           5 currently represent Borrego Community Health Foundation (“Debtor”), including with respect to its
                                                                           6 efforts to meet and confer with the Department of Health Care Services (“DHCS”) regarding the
                                                                           7 ongoing partial payment suspension for in-house dental care and the proposed 100% payment
                                                                           8 suspension. I have been working with Debtor since 2020, including meeting and conferring with
                                                                           9 DHCS when it instituted its first 100% payment suspension and then agreed to adjust it to the partial
                                                                          10 payment suspension applicable to dental claims that remains in place today. I have had dozens of
                                                                          11 phone calls with DHCS and its representatives regarding the Debtor and its performance under the
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                                                                          12 partial payment suspension and agreements with DHCS.
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                                                                          13          2.      I am providing this declaration to apprise the Court of certain facts and opinions
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                                                                          14 relevant to the Debtor’s pending Emergency Motion: (I) To Enforce The Automatic Stay Pursuant
                                                                          15 To 11 U.S.C. § 362; Or, Alternatively (II) For Temporary Restraining Order (the “Motion”) and its
                                                                          16 Ex Parte Application Supplementing Emergency Motion: (I) To Enforce The Automatic Stay
                                                                          17 Pursuant To 11 U.S.C. § 362; Or, Alternatively (II) For Temporary Restraining Order (the “Ex Parte
                                                                          18 Application”).
                                                                          19          3.      A provider, such as Debtor, has a right to meet and confer with DHCS regarding a

                                                                          20 proposed payment suspension. The Debtor exercised that right, and the meet and confer process
                                                                          21 has been ongoing. As part of that process, I have been communicating with DHCS about materials
                                                                          22 that the Debtor has requested DHCS to consider when the Debtor asks DHCS to rescind the payment
                                                                          23 suspension notice and stay its implementation.
                                                                          24          4.      As part of that process, I have had ongoing email exchanges with DHCS’s attorneys,

                                                                          25 which is attached as Exhibit A.
                                                                          26          5.      The most recent communication in the email chain requests DHCS to review its

                                                                          27 notices to plans regarding the proposed 100% payment suspension and to correct the confusion that
                                                                          28 they have created.

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                                                                           1          6.     I have reviewed DHCS’s September 28, 2022 notice to health plans regarding the

                                                                           2 stay of its proposed 100% payment suspension for the Debtor.
                                                                           3          7.     The notice directs plans to a DHCS All Plan Letter (“APL”), “APL 21-003”. APLs

                                                                           4 inform plans of DHCS’s position on various matters.
                                                                           5          8.     APL 21-003 does not apply to payment suspensions, because there is no requirement

                                                                           6 for plans to terminate providers under a payment suspension. Rather, APL 21-003 applies only to
                                                                           7 situations where plans terminate contracts with providers, including those involving terminations of
                                                                           8 providers when a provider has been suspended from Medi-Cal. APL 21-003 directs plans on what
                                                                           9 they are to do when the plans terminate a provider contract, and particularly when the contracts are
                                                                          10 terminated due to DHCS suspending a provider. Thus DHCS’s reference to APL 21-003 with regard
                                                                          11 to the Debtor’s situation is gratuitous, confusing and misleading.
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                                                                          12          9.     For the payment suspension at issue here, DHCS would allow Debtor’s to remain
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                                                                          13 Medi-Cal providers, but would withhold payment and expect plans to withhold payment from
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                                                                          14 providers with the NPI numbers identified in the notices. A payment suspension is thus very
                                                                          15 different than a suspension.
                                                                          16          10.    The only part of APL 21-003 that would apply to a payment suspension would be

                                                                          17 footnote 2, which states, “MCPs are not obligated to terminate contracts with Network Providers
                                                                          18 and Subcontractors placed under a payment suspension. MCPs may continue the contractual
                                                                          19 relationship; however, MCPs may not pay the Network Provider/Subcontractor until the suspension
                                                                          20 is lifted.” In other words, the only applicable part of APL 21-003 to the Debtor’s situation is the
                                                                          21 footnote that explains APL 21-003 does not apply to payment suspensions; i.e., it doesn’t apply to
                                                                          22 the Debtor’s situation.
                                                                          23          11.    There was no need to refer to APL 21-003 at all in the notice regarding the delay in

                                                                          24 imposing the total payment suspension and thereby create any confusion. DHCS could have avoided
                                                                          25 the problem by just updating the plans that the payment suspension is being stayed until October 6,
                                                                          26 2021 and request that plans maintain the status quo until then.
                                                                          27          12.    Plans and providers routinely comply with DHCS’s directions and requirements,

                                                                          28 even if not legally obligated to do so. A reasonable plan reviewing DHCS’s notice would likely be

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                                                                           1 confused about the type of suspension at issue and the applicability of APL 21-003 and what DHCS
                                                                           2 wanted the plans to do.
                                                                           3          13.     Plans will typically take a path that is most likely to avoid dispute with DHCS or

                                                                           4 even try to take action that would appease DHCS. Plans and providers to not want to be the focus
                                                                           5 of allegations that a plan has not complied with an APL or the law. Such motivation is exacerbated
                                                                           6 when there is ambiguity. The confusing nature of the terminology of a suspension and a payment
                                                                           7 suspension, the differences of which are not always clear even to participants in Medi-Cal and their
                                                                           8 advisors, coupled with a statement from DHCS referencing ambiguous terms creates pressure on
                                                                           9 plans to try to interpret what DHCS wants.
                                                                          10          14.     Thus, the DHCS notice and its general reference to APL 21-003, which does not

                                                                          11 apply to payment suspensions, is likely a contributing cause to plans providing notice of non-
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                                                                          12 payment, termination, and reassignment of patient lives, which would apply to suspensions as
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                                                                          13 referenced in the APL.
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                                                                          14          15.     Moreover, DHCS telling plans that they do not have to terminate provider contracts

                                                                          15 is hollow and would likely be interpreted to have an implicit message that DHCS welcomes non-
                                                                          16 mandatory termination of the contracts. Indeed, the plans know that DHCS is trying to suspend
                                                                          17 payments to Debtor, and when DHCS tells the plans they do not have to terminate the Debtor, a plan
                                                                          18 can reasonably interpret that message as one implicitly requesting plans exercise their discretion to
                                                                          19 terminate the provider, especially when DHCS did not tell the plans not to terminate Debtor either.
                                                                          20          16.     A request from DHCS is likely to be respected by plans, as rational participants in

                                                                          21 Medi-Cal do not want to receive unnecessary scrutiny by DHCS, if it can be avoided.
                                                                          22          17.     Thus, any clarification from DHCS about its notice and reference to APL 21-003,

                                                                          23 which includes a request from DHCS to stop reassigning lives of patients who have not requested
                                                                          24 reassignment, will be respected by plans.
                                                                          25          18.     Plans would similarly follow DHCS’s direction to reassign lives that the plans should

                                                                          26 not have moved after DHCS’s notice.
                                                                          27          19.     I have reviewed the Declaration of Dana Durham, the Chief of the Managed Care

                                                                          28 Quality and Monitoring Division of DHCS [Adv. Pro. Docket No. 17]. In paragraph 11 of her

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